254 F.2d 348
    103 U.S.App.D.C. 11
    Stephen S. MADISON and Public Investment Corporation, acorporation, Appellants,v.Gerard PHILLIPS, an infant, by his mother and next friend,Mary Frances Phillips Appellee.
    No. 14147.
    United States Court of Appeals District of Columbia Circuit.
    Argued March 18, 1958.Decided April 3, 1958.
    
      Mr. Robert J. Harlan, Washington, D.C., with whom Mr. J. Franklin Wilson, Washington, D.C., was on the brief, for appellants.
      Mr. Louis Ginberg, Washington, D.C., with whom Mr. Fred Somkin, Washington, D.C., was on the brief, for appellee.
      Before WASHINGTON, DANAHER and BASTIAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Defendants in the District Court (appellants here) appeal from a judgment for plaintiff (appellee) entered in a suit for personal injuries.
    
    
      2
      Most of the issues presented on this appeal are raised for the first time in this court.  Appellant's attorney1 vigorously urges that this court is vested with the power, under both Rule 17(i)2 and decisions of this court, to considered such issues.  However, under the circumstances of this case, we see no reason to exercise this discretion.  See also Rules 46 and 51 of the Federal Rules of Civil Procedure, 28 U.S.C.A.
    
    
      3
      So far as the other issues presented are concerned, we find no error affecting substantial rights.
    
    
      4
      Affirmed.
    
    
      
        1
         Appellants' counsel in this court was not counsel in the trial in the District Court
      
      
        2
         Rule 17(i), General Rules, 28 U.S.C.A.: 'Points not presented according to the rules of the court, will be disregarded, though the court, at its option, may notice and pass upon a plain error not pointed out or relied upon.'
      
    
    